 Case 3:24-cv-00384-HEH           Document 7       Filed 06/20/24      Page 1 of 2 PageID# 26




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division

 TYRA HARRISON
     Plaintiff,

 v.
                                                   Civil Action No 3:24-cv-00384 (HEH)
 RVA DIRT, LLC,

 and

 BECCA DUVALL,
     Defendants.

                  DEFENDANTS’ CONSENT MOTION FOR EXTENSION
                    OF TIME FOR FILING RESPONSIVE PLEADINGS

       Defendants RVA Dirt, LLC and Beca Duvall (“Defendants”), by and through undersigned

counsel, pursuant to Local Rule 7(F)(2)(b), move the Court to grant an extension of time through

and including July 5, 2024, in which the Defendants may file responsive pleadings to Plaintiff’s

Complaint. Plaintiff and Defendants have consented to the extension of time for filing responsive

pleadings, to the entry of an Order granting this Motion, and to the waiver of a hearing.

                                             Respectfully submitted,

                                                /s/ Caroline V. Davis
                                             David L. Hauck, Esquire (VSB# 20565)
                                             Caroline V. Davis, Esquire (VSB#48123)
                                             Duane, Hauck, Davis, Gravatt & Campbell, P.C.
                                             100 West Franklin Street, Suite 100
                                             Richmond, Virginia 23220
                                             Telephone: 804-644-7400
                                             Facsimile: 804-303-8911
                                             dhauck@dhdgclaw.com
                                             cdavis@dhdgclaw.com
                                             Counsel for Defendants RVA Dirt, LLC and
                                             Becca Duvall
 Case 3:24-cv-00384-HEH         Document 7     Filed 06/20/24     Page 2 of 2 PageID# 27




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 20th day of June 2024, I have electronically filed the
foregoing with the Clerk of Court using the CM/ECF system which will then send a notification
of such filing (NEF), to all counsel of record as follows:

Richard F. Hawkins, Esquire (VSB#40666)
THE HAWKINS LAW FIRM, PC
2222 Monument Avenue
Richmond, Virginia 23220
Telephone: 804-308-3040
Facsimile: 804-308-3132
rhawkins@thehawkinslawfirmpc.com
Counsel for Plaintiff Tyra Harrison

                                                         /s/ Caroline v. Davis
                                                         Caroline V. Davis
